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                                              Copter Source Houston's #11-8
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     About Copter Source
     Copter Source, The Source for lndustrial Drones, is a family owned and operated business
     in Baytown, Texas serving all of the Houston specializing in lndustrial UAV solutions for
     Petrochemical lnspection and Search and Rescue drone needs. We make every effortto
     strive for quality service and open communication with all our customers. Above allwe
     believe in honesty and fairness.

     Whether it's adding components like RTK or Thermal Cameras to your UAV, a complete
     custom build like RFID scanners or a Copter Source Wind 4lndustrial Package with Optical
     Gas lmaging and High Resolution Visible Sensors, we can provide you with a solution.
     Copter Source is a fully featured lndustrial Drone specialty store and most trusted
     Authorized DJI Enterprise Dealer providing sales and support for the full Enterprise line of
     products. We offer hands on instructions and complete product information to help you in
     your decision making and purchasing the drone best suited for you and your business
     needs"

     Our retail storefront on the South side of lnterstate 10. just East of Highway 146 offers a
     showroom featuring custom build combos with thermal and visible imaging sensors and
     including top DJI ready to fly platforms including the lnspire 2, Matrice 200 and Phantom 4
     Pro! We have a field in back for a safe test flight and demonstration area so you can see
     the copters in action. Not a far drive and easy highway access for all Drone Enthusiasts in
     Austin, Houston, San Antonio, and our neighbors over in Louisiana.

     Come by and get acquainted with us, we are friendly and professional, here to provide you
     with the best solution for your industrial drone needs.

    As always we appreciate your business, support and feedback.




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